              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:08cr107


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                   ORDER
                            )
                            )
WARREN EDWARD FORNEY.       )
                          )



      THIS MATTER is before the Court on the Defendant’s Motion for Access

to US District Court Records [Doc. 89].

      In the motion, counsel states that he has recently been appointed by the

Fourth Circuit Court of Appeals to represent the Defendant in connection with

a possible petition for rehearing and/or for a writ of certiorari. Counsel asks

that the Court grant him access to “all of the US District Court documents and

PACER entries in this case.” This Court is not in a position to provide counsel

with access to PACER entries. Therefore this portion of the motion must be

denied. Since counsel has been appointed to represent the Defendant, he

should be able to review, as a matter of course, filings in this Court’s ecf

system regarding the Defendant. Therefore this portion of the motion is




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denied as moot.    It is unclear whether counsel may be seeking other

documents. Therefore the motion will be denied without prejudice.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for Access

to US District Court Records [Doc. 89] is hereby DENIED without prejudice.

                                    Signed: November 3, 2011




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